
17 N.Y.2d 826 (1966)
Newell Bown, Appellant,
v.
Village of Lynbrook et al., Respondents.
Court of Appeals of the State of New York.
Submitted April 27, 1966.
Decided June 2, 1966.
William D. Hand for appellant.
Kenneth J. Jewell for Village of Lynbrook, respondent.
Morris H. Schneider, County Attorney (Seymour S. Ross and William D. Siegel of counsel), for County of Nassau, respondent.
Concur: Chief Judge DESMOND and Judges FULD, BURKE, SCILEPPI, BERGAN and KEATING. Judge VAN VOORHIS dissents and votes to affirm.
Order reversed, with costs in all courts, for the reasons stated in the dissenting opinion at the Appellate Division. No opinion.
